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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION


EQUAL EMPLOYMENT OPPORTUNITY              }
COMMISSION,                               }
                                          }               CIVIL ACTION NO.
                        Plaintiff,        }
                                          }               3:17-cv-01582
v.                                        }
                                          }
ATLAS ENERGY GROUP, LLC                   }
                                          }
                                          }
                        Defendant.        }
__________________________________________}


                 PLAINTIFF EEOC’S DEPOSITION DESIGNATIONS

      The Plaintiff hereby designates deposition excerpts as follows:

Bidal Salas
Page                 Lines
4                    1-6
6                    19-25
7                    1-24
8                    13-25
9                    1-25
10                   1-25
11                   17-25
12                   1-4
16                   2-25
17                   1-25
18                   1-25
19                   1-25
20                   1-13, 21-25
21                   16-25
22                   1-25
23                   1-25
24                   1-2, 5-16, 19-25
25                   1-25
26                   1-25


EEOC’S DEPOSITION DESIGNATIONS                                                    1
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Bidal Salas (continued).
Page                  Line
27                    1-25
28                    1-25
29                    1-24
30                    1-25
31                    1-25
32                    1-25
33                    1-25
34                    1-6
35                    4-8, 25
36                    1-12, 21-25
37                    1-25
38                    1-22
39                    13-25
40                    1-25
41                    1-24
42                    18-21
43                    14-25
44                    1, 4-25
45                    1-25
46                    1-25
47                    1-25
48                    1-25
49                    1-25
50                    1-6, 21-24
51                    3-9, 10-25
52                    1-25
53                    1-2, 4-25
54                    1, 6-25
55                    1-13, 21-25
56                    1-12, 22-25
57                    1-25
58                    1-25
59                    22-25
60                    1-12, 21-25
61                    1-25
62                    1-7, 19-22, 25
63                    1-25
64                    1-21, 25
65                    1-4
66                    10-12, 15-17, 19-25
67                    1-14, 17-24
68                    8-10, 13-14, 16-21
69                    17-25

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Bidal Salas (continued).
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70                    1-5, 7-8, 10-24
71                    2-4, 6-14
73                    8-21
75                    15-25
76                    1-5, 10-25
77                    1-7, 9-22
78                    1-25
79                    1-25
80                    1-25
81                    1-14, 17-25
82                    1-6
83                    7-9
85                    24-25
86                    1-12
93                    10-25
94                    1-6
98                    9-14, 21-25
99                    1-15
103                   9-25
104                   1-12, 15-25
105                   1-8
106                   6-15, 22-25
107                   1-25
108                   1-25
109                   1-25
110                   1-25
111                   1, 4-11, 15-25
112                   1-22
113                   14-25
114                   1-22
115                   4-25
116                   1-25
117                   6-25
118                   1-25
119                   1-22, 25
120                   1-25
121                   1-4
122                   16-21
123                   1-16
124                   2-25
125                   1-16
127                   5-25

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Bidal Salas (continued).
Page                  Line
128                   1-25
129                   1-20
130                   1-25
131                   1-25
132                   1-25
133                   11-22
135                   24-25
136                   1-23
137                   1-13
138                   14-21
139                   24-25
140                   1-12, 18-25
141                   1-7, 21-25
142                   1-7



Johnnie Boris
Page                 Lines
5                    11-25
6                    1-25
7                    1-25
8                    1-25
9                    1-25
10                   1-25
11                   1-25
12                   1-25
13                   1-25
14                   1-25
15                   1-25
16                   1-7, 9-25
17                   1-25
18                   1-25
19                   1-25
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21                   1-25
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25                   1-25
26                   1-25
27                   1-25

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Johnnie Boris (continued).
Page                  Line
28                    1-25
29                    1-25
30                    1-25
31                    1-25
32                    1-25
33                    1-25
34                    1-25
35                    1-9, 12-25
36                    1-25
37                    1-25
38                    1-25
39                    1-25
40                    1-25
41                    1-25
42                    1-23
43                    6-25
44                    1-25
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46                    1-25
47                    1-25
48                    1-25
49                    1-25
50                    1-25
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57                    1-25
58                    1-22
59                    3-25
60                    1-25
61                    1-25
62                    1-25
63                    1-25
64                    1-25
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66                    1-25
67                    1-25
68                    1-25
69                    1-11, 21-25

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Johnnie Boris: (continued)
Page                  Lines
70                    1-25
71                    1-25
72                    1-25
73                    1-25
74                    1-22
75                    1-25
76                    1-25
77                    1-25
78                    1-25
79                    1-25
80                    1-5, 21-25
81                    1-25
82                    1-25
83                    1-25
84                    1-25
85                    1-25
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87                    1-25
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100                   1-25
101                   1-25
102                   1-25
103                   1-25
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110                   1-25
111                   1-25
112                   1-25

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113             1-25
114             1-25
115             1-25
116             1-25
117             1-25
118             1-25
119             1-25
120             1-25
121             1-23
124             1-25
125             1-25
126             1-25
127             1-25
128             1-25
129             1-25
130             1-25
131             1-25
132             1-25
133             1-25
134             1-25
135             1-25
136             1-25
137             1-25
138             1-25
139             1-25
140             1-25
141             1-25
142             1-25
143             1-25
144             1-25
145             1-25
146             1-6, 25
147             1-25
148             1-25
149             1-25
150             1-25
151             1-25
152             1-25
153             1-25
154             1-25
155             1-25
156             1-25
157             1-25
158             1-25
159             1-22

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161                1-25
162                1-25
163                1-18


Beth Weir Loomer
Page               Lines
4                  9-25
5                  1-25
6                  1-25
7                  1-25
8                  1-25
9                  1-19
10                 13-25
11                 1-25
12                 1-25
13                 1-25
14                 1-25
15                 1-3, 15-25
16                 1-25
17                 1-25
18                 1-25
19                 1-25
20                 1-25
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23                 1-25
24                 1-25
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27                 1-25
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32                 1-25
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34                 1-25
35                 1-25
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37                 1-25
38                 1-25
39                 1-25
40                 1-13, 20-25
41                 1-25

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Beth Weir Loomer: (continued)
Page                Lines
42                  1-25
43                  1-25
44                  1-25
45                  1-18, 25
46                  1-25
47                  1-25
48                  1-25
49                  1-25
50                  1-5, 16-25
51                  1-25
52                  1-25
53                  1-25
54                  1-25
55                  1-25
56                  1-25
57                  1-25
58                  1-25
59                  1-25
60                  1-25
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67                  1-25
68                  1-25
69                  1-25
70                  1-25
71                  1-25
72                  1-25
73                  1-25
74                  1-22
75                  5-25
76                  1-25
77                  1-18, 22-25
78                  1-25
79                  1-25
80                  1-25
81                  1-25
82                  1-25
83                  1-25
84                  1-25

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Beth Weir Loomer: (continued)
Page                Lines
85                  1-25
86                  1-25
87                  1-25
88                  1-25
89                  1-11, 17-25
90                  1-25
91                  1-25
92                  1-25
93                  1-25
94                  1-25
95                  1-25
96                  1-25
97                  1-25
98                  1-25
99                  1-25
100                 1-25
101                 1-25
102                 1-25
103                 1-25
104                 1-25
105                 1-13, 17-25
106                 1-25
107                 1-25
108                 1-25
109                 1-25
110                 1-25
111                 1-25
112                 1-25
113                 1-25
114                 1-25
115                 1-25
116                 1-25
117                 1-25
118                 1-5, 9-25
119                 1-25
120                 1-25
121                 1-23
124                 1-25
125                 1-25
126                 1-25
127                 1-25



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Lee Nash
Page             Lines
4                6-25
5                1-25
6                1-25
7                1
8                24-25
9                1-13
10               5-25
11               1-25
12               1-25
13               1-25
14               1-25
15               1-25
16               1-25
17               1-25
18               1-3, 8-25
19               1-25
20               1-25
21               1-25
22               1-25
23               1-25
24               1-25
25               1-25
26               1-25
27               1-11, 15-25
28               1-25
29               1-25
30               1-25
31               1-25
32               1-25
33               1-25
34               1-18, 23-25
35               1-25
36               1-3, 6-25
37               1-25
38               1-25
39               1-25
40               1-25
41               1-25
42               1-25
43               1-25
44               1-25
45               1-25
46               1-25

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Lee Nash: (continued)
Page                  Lines
47                    1-25
48                    1-7, 21-25
49                    1-25
50                    1-25
51                    1-25
52                    1-25
53                    1-25
54                    1-25
55                    1-12


Tyler Yelverton
Page                 Lines
5                    11-25
6                    1-25
7                    1-25
8                    1-25
9                    1-25
10                   22-25
11                   1-8
17                   2-25
18                   1-25
19                   1-25
20                   1-25
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22                   1-25
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24                   1-25
25                   1-25
26                   1-25
27                   10-25
28                   1-25
29                   1-25
30                   1-25
31                   1-25
32                   1-25
33                   1-7, 16-25
34                   1-25
35                   1-25
36                   1-25
37                   1-25
38                   1-25
39                   1-25

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Tyler Yelverton: (continued)
Page                  Lines
40                    1-25
41                    1-25
42                    1-25
43                    1-25
44                    1-25
45                    1-25
46                    1-25
47                    1-25
48                    5-25
49                    1-25
50                    1-25
51                    1-25
52                    1-25
53                    1-25
54                    1-25
55                    1-25
56                    1-25
57                    1-25
58                    1-25
59                    1-25
60                    1-25
61                    1-25
62                    1-25
63                    1-25
64                    1-25
65                    1-25
66                    1-25
67                    1-25
68                    1-25
69                    1-25
70                    1-25
71                    1-25
72                    1-25
73                    1-12, 16-25
74                    1-25
75                    1-25
76                    1-25
77                    1-25
78                    1-25
79                    1-25
80                    1-25
81                    1-25
82                    1-25

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Tyler Yelverton: (continued)
Page                  Lines
83                    1-25
84                    1-25
85                    1-25
86                    1-25
87                    1-25
88                    1-25
89                    1-25
90                    1-25
91                    1-25
92                    1-25
93                    1-25
94                    1-25
95                    1-25
96                    1-25
97                    1-25
98                    1-25
99                    1-25
100                   1-25
101                   1-25
102                   1-25
103                   1-25
104                   1-25
105                   1-25
106                   1-25
107                   1-25
108                   1-25
109                   1-25
110                   1-2
111                   25
112                   1-18




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                                                              Respectfully submitted,

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                                                              3rd Floor
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                                                              Fax No. (214) 253-2749


                                 CERTIFICATE OF SERVICE

       This is to certify that on this, the 29th day of March, 2019, I electronically transmitted the
attached document to the Clerk of the Court using the ECF system of filing, which will transmit
a Notice of the Electronic Filing to Defendant’s counsel, an ECF registrant.

                                                              /s/ Joel Clark
                                                              JOEL CLARK

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